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                                                                                  2020 Sep-30 PM 12:20
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA
                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

PEOPLE FIRST OF ALABAMA, et                 )
al.,                                        )
                                            )
       Plaintiffs,                          )
                                            )    Civil Action Number
v.                                          )    2:20-cv-00619-AKK
                                            )
JOHN MERRILL, et al.,                       )
                                            )
       Defendants.                          )

               FINAL JUDGMENT AND INJUNCTON ORDER

       Consistent with the contemporaneously-entered findings of fact and

conclusions of law, doc. 250, the plaintiffs’ motion for reconsideration, doc. 229, is

DENIED, and Judge Don Davis’s and JoJo Schwarzauer’s motions for judgment on

partial findings, docs. 231, 233, are MOOT. Based upon the court’s findings of fact

and conclusions of law, doc. 250:

      A.     JUDGMENT is ENTERED in favor of the defendants on the

following claims:

      1.     The claims asserted against Judge Davis challenging the photo
             ID requirement and the curbside voting ban;

      2.     Eric Peebles’s, Howard Porter, Jr.’s, Annie Carolyn
             Thompson’s, and Teresa Bettis’s claims challenging the curbside
             voting ban;
      3.     Black Voters Matter Capacity Building Institute’s (“BVM’s”)
             claims in Count II challenging the photo ID requirement and the
             curbside voting ban under the Americans with Disabilities Act
             (“ADA”);
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      4.      The plaintiffs’ claims in Count II presenting a facial challenge to
              the curbside voting ban under the ADA;

      5.      Ms. Thompson’s claim in Count II challenging the photo ID
              requirement under the ADA;

      6.      The plaintiffs’ claims in Count III challenging the curbside
              voting ban under Section 2 of the Voting Rights Act; and

      7.      The plaintiffs’ claims in Count V.


      B.      JUDGMENT is ENTERED in favor of the plaintiffs on the following

claims:

      1.      Dr. Peebles’s, Ms. Bettis’s, Ms. Thompson’s, BVM’s, People
              First of Alabama, the Alabama Conference of the NAACP’s, and
              Greater Birmingham Ministries’ 1 claims asserted in Count I
              against Judge Davis and Ms. Schwarzauer challenging the
              witness requirement as applied in the COVID-19 pandemic;

      2.      Ms. Thompson’s and the organizational plaintiffs’ claims
              asserted in Count I against Ms. Schwarzauer challenging the
              photo ID requirement as applied in the COVID-19 pandemic;
      3.      Ms. Threadgill-Matthews’s and the organizational plaintiffs’
              claims asserted in Count I against Secretary Merrill challenging
              the curbside voting ban as applied in the COVID-19 pandemic;

      4.      People First’s, the Alabama NAACP’s, and GBM’s claims
              asserted in Count II against Ms. Schwarzauer and the State
              challenging the photo ID requirement under the ADA;

      5.      Ms. Threadgill-Matthews’s, the Alabama NAACP’s, and GBM’s
              claims asserted in Count II against Secretary of State John
              Merrill challenging the curbside voting ban under the ADA; and

      6.      Ms. Bettis’s, Ms. Thompson’s, and the organizational plaintiffs’
              claims asserted in Count III against Judge Davis, Ms.
1
  The court refers to BVM, the Alabama NAACP, People First, and GBM collectively as the
“organizational plaintiffs.”
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         Schwarzauer, and the State challenging the witness requirement
         under Section 2 of the Voting Rights Act.

    Consistent with the judgment in favor of the plaintiffs, the court

DECLARES:

    1.   As applied during the COVID-19 pandemic to voters who are
         particularly susceptible to COVID-19, the requirement under
         Ala. Code §§ 17-11-7, 17-11-9, and 17-11-10 that absentee
         ballot affidavits be witnessed and signed by a notary public or
         two adult witnesses violates the First and Fourteenth
         Amendments.

    2.   As applied during the COVID-19 pandemic to voters who are
         particularly susceptible to COVID-19 complications because
         they are either age 65 or older or disabled or have underlying
         medical conditions that make them susceptible to COVID-19
         complications, the requirement under Ala. Code §§ 17-9-30(b),
         (d), and 17-11-9 that absentee voters provide a copy of their
         photo identification with their absentee ballot applications
         violates the First and Fourteenth Amendments.
    3.   As applied during the COVID-19 pandemic to voters who are
         particularly susceptible to COVID-19 complications, the
         curbside voting ban violates the First and Fourteenth
         Amendments.
    4.   As applied during the COVID-19 pandemic to voters with
         disabilities who cannot safely obtain a copy of their photo ID, the
         requirement under Ala. Code §§ 17-9-30(b), (d), and 17-11-9
         that absentee voters provide a copy of their photo identification
         with their absentee ballot applications violates the ADA.

    5.   As applied during the COVID-19 pandemic to voters with
         disabilities, the curbside voting ban violates the ADA.
    6.   As applied during the COVID-19 pandemic, the requirement
         under Ala. Code §§ 17-11-7, 17-11-9, and 17-11-10 that
         absentee ballot affidavits be witnessed and signed by a notary
         public or two adult witnesses violates the Voting Rights Act.


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       Therefore, the court ORDERS that, as to the November 3, 2020 general

election:

       1.     Judge Don Davis, JoJo Schwarzauer, and the State of Alabama
              are ENJOINED 2 from enforcing the requirement under Ala.
              Code §§ 17-11-7, 17-11-9, and 17-11-10 that absentee ballot
              affidavits be witnessed and signed by a notary public or two adult
              witnesses for any qualified voters who provide a written
              statement that they have an underlying medical condition that
              puts them at a heightened risk from COVID-19, and, thus, they
              cannot safely satisfy that requirement due to the COVID-19
              pandemic;
       2.     Ms. Schwarzauer and the State are ENJOINED from enforcing
              the requirement under Ala. Code §§ 17-9-30(b), (d), and 17-11-
              9 that absentee voters provide a copy of their photo identification
              with their absentee ballot applications for absentee voters over
              65, or those under 65 who cannot safely obtain a copy of their
              photo ID during the COVID-19 pandemic due to an underlying
              medical condition that makes them particularly susceptible to
              COVID-19 complications, and who provide other required
              identifiers with their absentee ballot applications, such as their
              driver’s license number and last four digits of their social security
              number; and
       3.     Secretary Merrill is ENJOINED from prohibiting counties from
              establishing curbside voting procedures that otherwise comply
              with state and federal election law.

       The court ORDERS the State and Secretary Merrill to take all reasonable

steps to inform county probate judges, circuit clerks, and absentee elections

managers about this injunction as quickly as possible.




2
 For defendants Judge Davis and Ms. Schwarzauer, the probate judge and circuit clerk of Mobile
County, respectively, this injunction order applies only in Mobile County.
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      As the prevailing parties, the plaintiffs are entitled to costs and attorneys’ fees.

The court will defer this issue until after the resolution of any appeal of this judgment

and order.

      DONE the 30th day of September, 2020.


                                         _________________________________
                                                  ABDUL K. KALLON
                                           UNITED STATES DISTRICT JUDGE




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